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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

  ELIZABETH SINES, ET AL.,                         │
                                                   │
                 Plaintiffs,                       │
                                                   │
         v.                                        │ Civil Action No. 3:17-cv-00072
                                                   │
  JASON KESSLER, ET AL.,                           │
                                                   │
                 Defendants.                       │
                                                   │

       DEFENDANTS’ HILL, TUBBS & LEAGUE OF THE SOUTH’S MOTION FOR
         PERMISSION TO FILE A MEMORANDUM THAT EXCEEDS 25 PAGES

         COME NOW Defendants Michael Hill, Michael Tubbs, and League of the South, by

  counsel, pursuant to this Court’s scheduling order and request permission to file a Memorandum

  in Support of a Motion for Summary Judgment that exceeds 25 pages. In support, Defendants

  submit as follows

         1. Defendants Hill, Tubbs, and the League of the South intend to file a single Motion

              and Memorandum in Support, rather than three individual Motions and

              Memorandum. Because all three Defendants will be filing a single Motion and

              Memorandum, additional facts and argument are necessary, above and beyond what

              would be necessary for a single Defendant filling individually.

         2. This case is unusually complex. Over twenty depositions have been taken and

              hundreds of thousands of documents have been produced and exchanged in

              discovery. The process has taken almost three years.

         3. The large number of Plaintiffs and Defendants also make the issues and material facts

              more complicated than normal.
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         For those reasons, Counsel for Defendants Hill, Tubbs, and the League of the South

  requests permission to file a Memorandum in Support of a Motion for Summary Judgment that

  exceeds the 25 page limit. Counsel for Defendants anticipates the Memorandum in Support of

  the Motion for Summary Judgment to be approximately 46 pages.


                                                       Respectfully submitted,

                                                       /s/ Bryan J. Jones____
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                                                       106 W. South St., Ste. 211
                                                       Charlottesville, VA 22902
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                                                       (E): bryan@bjoneslegal.com

                                                       Counsel for Defendants for Michael Hill,
                                                       Michael Tubbs, and League of the South




                                  CERTIFICATE OF SERVICE

         I certify that on the 6th day of August, 2020, a true and correct copy of the foregoing

  Motion for Summary Judgment was electronically filed with the Clerk of the Court using the

  CM/ECF system, which will provide electronic notice to all counsel of record.



                                                       /s/ Bryan J. Jones____
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         I further hereby certify that on August 6, 2020, I also served the following non-ECF

  participants, via electronic mail, as follows:

  Christopher Cantwell
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